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                        EXHIBIT Z
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                                                                                 RECEIVED
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        Attorneys for Sheriff, Police Chief, and
    8   Chief Probation Intervenor-Defendants
    9
   10                             IN THE UNITED STATES DISTRICT COURTS
  11                            FOR THE EASTERN DISTRICT OF CALIFORNIA
   12                          AND THE NORTHERN DISTRICT OF CALIFORNIA
   13              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
   14                PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
   15
        RALPH COLEMAN, et al.,                                 Case No: CIV S-90-0520 LKK JFM P
   16
                           Plaintiffs,                         THREE-JUDGE COURT
  17
                   VS.
   18
        ARNOLD SCHWARZENEGGER, et
   19   al.,
  20                       Defendants.
  21
                                                               [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)l
  22
                                                               Case No.: CO 1-1351 TEH
  23    MARCIANO PLATA, et al.,
                                                              THREE-JUDGE COURT
  24                       Plaintiffs,
                                                              INTERVENOR-DEFENDANT INYO
  25               VS.                                        COUNTY SHERIFF'S RESPONSES TO
                                                              PLAINTIFFS' FIRST SET OF
  26    ARNOLD SCHWARZENEGGER, et                             INTERROGATORIES
        alo,
  27
                           Defendants.
  28
                                                              -I-
               INTERVENOR-DEFENDANT INYO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       PROPOUNDING PARTIES:                   Plaintiffs, MARCIANO PLATA, et al.
   2   RESPONDING PARTY:                      Intervenor-Defendant, INYO COUNTY SHERIFF
   3   SET NUMBER:                            One (1)
   4            TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
   5            Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant Inyo
   6   County Sheriff separately and fully responds to Plaintiffs' First Set of Interrogatories as
   7   follows:
   8                         Preliminary Statement and General Obieetions
   9             1.    Intervenor-Defendant has not completed investigation of the facts relating
  10   to this case, has not completed discovery in this action and has not completed preparation

  11   for trial. Therefore, these responses, while based on diligent factual exploration, reflect
  12   only Intervenor-Defendant's current state of knowledge, understanding, and belief with
  13   regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
  14   the right to supplement these responses with subsequently obtained or discovered
  15   information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
  16   notwithstanding these answers and responses, to employ at trial or in any pretrial
  17   proceeding herein information subsequently obtained or discovered, information the
  18   materiality of which is not presently ascertained, or information Intervenor-Defendant
  19   does not regard as coming within the scope of the interrogatories as Intervenor-Defendant
  20   understands them.
  21            2.      These responses are made solely for the purpose of this action. Each
  22   answer     is subject to all objections as to competence, relevance, materiality, propriety,
  23   admissibility, privacy, privilege, and any and all other objections that would require
  24   exclusion of any statement contained herein if any such interrogatories were asked of, or
 25    any statement contained herein if any such interrogatories were asked of, or any
 26    statement contained herein were made     by, a witness present and testifying in court, all of
  27   which objections and grounds are reserved and may be interposed at the time of trial.
 28          3.      Except for explicit facts admitted herein, no incidental or implied
                                                        -2-
          INTERVENOR-DEFENDANT INYO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          admissions are intended hereby. Intervenor-Defendant's answers or objections to any
          interrogatory are not an adnaission of any fact set forth or assumed by that interrogatory.
      3   In addition, each of Intervenor-Defendant's answers to an interrogatory or. part of any
      4   interrogatory is not a waiver of part or all of any objection he might make to that
      5   interrogatory, or an admission that such answer or objection constitutes admissible
      6   evidence. Intervenor-Defendant asserts these objections without waiving or intending to
      7   waive any objections as to competency, relevancy, materiality or privilege.
      8           4.      To the extent Intervenor-Defendant responds to these interrogatories, the
      9   responses will not include information protected by the right of privacy. All objections
  10      on the grounds of constitutional and common law privacy rights are expressly preserved.

  11              5.       Intervenor-Defendant objects to each and every Interrogatory to the extent
  12      that Plaintiffs are requesting information that is neither relevant to the subject matter of
  13      this action nor reasonably calculated to lead to the discovery of admissible evidence.
  14              6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
  15      are vague and ambiguous and do not include adequate definition, specificity, or limiting

  16      factors.
  17                 7.    Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
  18      the term "PERSON." The definition is vague, ambiguous, and overbroad as used in thes•
  19      Interrogatories.
 20               Subject to and without waiving the foregoing objections, and incorporating them
 21       by reference into each of the responses provided below, Intervenor-Defendant hereby
 22       responds as follows:
 23       INTERROGATORY NO. 1:
 24                  From January   1, 1995 until the present, have any limit(s) been in place, as the
 25       result of any lawsuit, on the number of people that can be housed in any jail operated
 26       and/or maintained by YOU? If so:
 27                      (a)        State the name, date and case number of every case which resulted in
 28       any such limit(s).
                                                            -3-
             INTBRVENOR-DEFENDANT INYO COLINTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          1    RESPONSE TO INTERROGATORY NO. 1:
       2                In addition to the General Objections stated above, Intervenor-Defendant objects
       3       to this interrogatory   on   the grounds that it is vague, ambiguous and overbroad; to the
       4       extent that it seeks information not relevant to this litigation nor reasonably        calculated to
       5       lead to the discovery of admissible evidence.
       6                Without waiving and subject to the objections, Intervenor-Defendant responds that
       7      from January 1, 1995 until present, no limits have been in place on the number of people
       8      that can be housed in any jail operated and/or maintained by Intervenor-Defendant as the
      9       result of a lawsuit.
  10          INTERROGATORY NO. 2:
  11                    In any instance, from January       1, 1995 until the present, in which any limit(s) have
  12          been in place on the number of people that can be housed in any jail operated and/or
  13          maintained by YOU, what mechanisms were used to comply with those limits?
  14                           (a)     Identify all DOCUMENTS which relate to YOUR answer.
  15                           (b)     Identify all PERSONS whom YOU believe or suspect have
 16           information to support YOUR         answer.

 17           RESPONSE TO INTERROGATORY NO. 2:
 18                     In addition to the General Objections stated above, Intervenor-Defendant objects
 19           to this  interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
 20           extent that it seeks information not relevant to this litigation nor reasonably calculated to
 21           lead to the discovery of admissible evidence.
 22                    Without waiving and subject to the objections, Intervenor-Defendant responds that
 23           the jail sergeant monitors the daily inmate population and submits requests for the early
 24           release of inmates to the court pursuant to Penal Code sections 4024 et seq. in order to
 25           comply with its Board-rated capacity.
 26           (a) Penal Code sections 4024 et seq., accelerated release form and Section 4024.2 work
 27           release application and petition.
 28           (b) Lieutenant Randy Geiger, Undersheriff John Eropkin and Sergeant Paul Bedell.
                                                                 -4-
                 INTERVENOR-DEFENDANT INYO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       1    INTERROGATORY NO. 3:
       2              From January     1, 1995 until present, how many people have had their releases from
       3    any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
      4     on   the number of people that can be housed in that jail?
       5                      (a)     Identify all DOCUMENTS which relate to YOUR answer.
      6                       (b)     Identify all PERSONS whom YOU believe or suspect have
      7     information to support YOUR          answer.

      8     RESPONSE TO INTERROGATORY NO. 3:
      9               In addition to the General Objections stated above, Intervenor-Defendant objects
  10       to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
  11       extent that it seeks information not relevant to this litigation nor reasonably calculated to
  12       lead to the discovery of admissible evidence.
  13               Without waiving and subject to the objections, Intervenor-Defendant responds:
 14        Approximately 134.
  15       (a) Booking/release reports, jail ledgers, logs and available Section 4024 applications.
 16        (b) Lieutenant Geiger and Sergeant Bedell.
 17        INTERROGATORY NO. 4:
 18                  What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
 19        January 1, 1995 until present, in any county in which YOU operate and/or maintain a
 20        jail?
 21                      (a) For each such program, describe the mission and/or purpose of the
 22        placement program.
 23                     (b) For each such program, identify what criteria are used to decide who
 24        may enter the program.
 25                      (c) Identify all DOCUMENTS which relate to YOUR answer.
 26                      (d) Identify all PERSONS whom YOU believe or suspect have
 27        information to support YOUR answer.
 28        ///
                                                               -5-
                 INTERVENOR-DEFENDANT INYO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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           RESPONSE TO INTERROGATORY NO. 4:
       2              In addition to the General Objections stated above, Intervenor-Defendant objects
       3   to this interrogatory      on   the grounds that it is vague, ambiguous and overbroad; to the
       4   extent that it seeks      information not relevant to this litigation nor reasonably calculated to
       5   lead to the discovery of admissible evidence.
       6              Without waiving and subject to the objections, Intervenor-Defendant responds:
      7    The "Work Release Alternative Program" was implemented in 2008 and is the first
      8    program of this nature to be used in Inyo County.
      9    (a)        The program was introduced to offer non-violent, low risk persons an alternative
  10       to a jail commitment        and keep the average daily inmate population at or below the
  11       designed bed capacity.
  12       (b) (1) An individual must be able to follow the conditions, restrictions and rules
  13       of the Program.
 14                 (2) An individual must be sentenced to confinement in the Inyo County Jail on
 15        all arrest warrants and have no outstanding criminal charges or holds.
 16                 3)     The facts of the committed offense will be evaluated during the review of
 17        the application. Past criminal history will also be considered. Placement in the program
 18        may be denied if the investigation discloses that individuals have been convicted of, have
 19        admitted to, or have a history of any of the following:
 20                        i.     Sex crimes(s) against minor(s)
 21                        ii.    Felony and misdemeanor sex crime(s)
 22                          iii.     Arson
 23                          iv.     Acts of violence against police or emergency personnel
 24                          v.      Violent felony crimes per PC 667.5(c)
 25                          vi.     Violent misdemeanor crimes
 26                          vii.    Stalking crime(s)
 27                          viii.   Manufacturing of illegal drugs
 28                          ix.     Sales of illegal drugs or possession of large quantities of illegal
                                                               -6-
                 INTERVENOR-DEFENDANT INYO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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                                  drugs
       2                  x.      Addiction to drugs/alcohol
       3                  xi.     Failure to appear in court
      4                   xii.    Mental health problems
       5                  xiii.   Serious medical problems
      6                   xiv.    Prior escape from jail or prison
      7                   xv.   History of rule violations while in custody
      8    (c) Policy and procedure booklet; application and instructions; Notice to Appear
      9    (Penal Code sections 4024.2 & 4024.3 Court Referral).
  10       (d) Undersheriff John Eropkin, Lt. Jim Jones, Lt. Randy Geiger, Sergeant Keith
  11       Hardcasfle and Carma Roper, Administrative Analyst.
  12       DATED: May 2, 2008                         Respectfully submitted,
                                                          JONES & MAYER
  13
  14
  15
                                                                 Attorneys for Sheriff, Probation, Police
  16                                                             Chief, and Corrections Intervenor-
                                                                 Defendants
  17
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             [NTERVENOR-DEFENDANT INYO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
